       Case 2:07-cr-00024-DLJ Document 119 Filed 06/22/07 Page 1 of 2


 1 UNITED STATES OF AMERICA,       )
                                   )
 2                    Plaintiff,   )
                                   )
 3             v.                  )
                                   )         No. 07-CR-0024 DLJ
 4   ARTEMIOS MANIATIS ET.AL.      )
                                   )
 5                                 )         ORDER
                      Defendants. )
 6   ______________________________)
 7        On June 18, 2007, Dimitrios Georgakoudis (Defendant) filed a
 8 motion requesting that the Court order a deposition pursuant to
 9 Rule 15 of the Federal Rules of Criminal Procedure for Artemios
10 Maniatis.     The government has not opposed the motion.             Maniatis was
11 a co-defendant in this case who has already been tried and was
12 acquitted on all counts.       After his trial, Maniatis returned to his
13 home in Greece.      Based on the papers submitted in support of
14 Defendant’s motion and Maniatis’ testimony at his own trial, the
15 Court finds that Maniatis is a witness material to Defendant’s
16 defense.    Maniatis’ counsel has submitted to the Court papers which
17 indicate that Maniatis’ will not appear at trial in the Eastern
18 District of California but is willing to be deposed by the parties
19 in Greece.     The Court concludes that circumstances exist which
20 justify taking a Rule 15 deposition in order to preserve Maniatis’
21 testimony for trial.
22        The Court orders the government and defense to confer and
23 schedule the Rule 15 deposition, taking into consideration that
24 trial in this matter is set for September 24, 2007.            The government
25 shall obtain all approvals required by the governments of Greece
26 and the United States required for the deposition to go forward.
27 The parties are to submit a schedule for the deposition to the
28 Court by July 31, 2007.
      Case 2:07-cr-00024-DLJ Document 119 Filed 06/22/07 Page 2 of 2


 1      The deposition shall be taken in accordance with the
 2 provisions set forth in Rule 15. Each party shall be responsible
 3 for their own costs and expenses of attending the Rule 15
 4 deposition.    The defense will also be responsible for the costs and
 5 expenses of a court reporter, interpreter, and videographer.        If
 6 the parties are unable to reach an agreement as to the form and
 7 preservation of objections, they shall proceed in compliance with
 8 Rule 15(g).    A judicial officer need not be present at the
 9 deposition.
10
11 IT IS SO ORDERED
12 Dated: June 21, 2007               ___________________________________
13                                    D. Lowell Jensen
                                      United States District Judge
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